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Response to 3/11/2011    33     All documents relating to any maintenance,   ((horizon or dwh) and (((fire or gas) w/10       (horizon or dwh) and “rig     Transocean's search terms do not include "rig savers," which is the
BP's RFP to                     including maintenance policies, practices,   detect*) w/10 (system* or alarm*))) or           saver*”                       subject of the request.
TO                              procedures, standards, requirements,         ((horizon or dwh) and ((emergency w/3
                                protocols, and/or planning, regarding the    disconnect) or eds) or ((emergency w/3
                                Deepwater Horizon’s rig savers.              shutdown) or esd)) and date 1/1/2009 –
                                                                             4/20/2010. (procedur* or protocol* or rule* or
                                                                             guideline* or polic*) and ((well w/3 control) or
                                                                             “pressure test” or (( NPT or PPT) w/3 test))
                                                                             and (dwh or horizon) and date 1/1/2005 –
                                                                             4/20/2010.
Response to 3/11/2011    34     All documents relating to any inspections,   Same as RFP 33.                                  (horizon or dwh) and “rig     Transocean's search terms do not reference "rig savers," which is
BP's RFP to                     including inspection policies, practices,                                                     saver*”                       the subject of the request.
TO                              procedures, standards, requirements,
                                protocols, and/or planning, regarding the
                                Deepwater Horizon’s rig savers.
Response to 3/11/2011    35     All documents relating to any testing,       Same as RFP 33.                                 (horizon or dwh) and “rig      Transocean's search terms do not reference "rig savers," which is
BP's RFP to                     including testing policies, practices,                                                       saver*”                        the subject of the request.
TO                              procedures, standards, requirements,
                                protocols, and/or planning, regarding the
                                Deepwater Horizon’s rig savers.
Response to 3/11/2011    36     All documents relating to whether the actual Same as RFP 33.                                 (horizon or dwh) and “rig      Transocean's search terms do not reference "rig savers," which is
BP's RFP to                     maintenance, inspection, and testing of the                                                  saver*”                        the subject of the request.
TO                              Deepwater Horizon’s rig savers complied
                                with Transocean’s policies, practices,
                                procedures, standards, requirements, and/or
                                protocols regarding maintenance, inspection,
                                and testing of rig savers.

Response to 3/11/2011    37     All documents relating to any maintenance,   ((horizon or dwh) and (((fire or gas) w/10        (horizon or dwh) and         Transocean's search terms do not reference "overspeed controls" or
BP's RFP to                     including maintenance policies, practices,   detect*) w/10 (system* or alarm*))) or           overspeed w/10 (control* or   "engine," which are the subjects of the request.
TO                              procedures, standards, requirements,         ((horizon or dwh) and ((emergency w/3            engine*)
                                protocols, and/or planning, regarding the    disconnect) or eds) or ((emergency w/3
                                Deepwater Horizon’s overspeed controls.      shutdown) or esd)) and date 1/1/2009 –
                                                                             4/20/2010. (procedur* or protocol* or rule*
                                                                             or guideline* or polic*) and ((well w/3 control)
                                                                             or “pressure test” or (( NPT or PPT) w/3
                                                                             test)) and (dwh or horizon) and date
                                                                             1/1/2005 – 4/20/2010.
Response to 3/11/2011    38     All documents relating to any inspections,   Same as RFP 37.                                   (horizon or dwh) and         Transocean's search terms do not reference "overspeed controls" or
BP's RFP to                     including inspection policies, practices,                                                     overspeed w/10 (control* or   "engine," which are the subjects of the request.
TO                              procedures, standards, requirements,                                                          engine*)
                                protocols, and/or planning, regarding the
                                Deepwater Horizon’s overspeed controls.
Response to 3/11/2011    39     All documents relating to any testing,       Same as RFP 37.                                  (horizon or dwh) and          Transocean's search terms do not reference "overspeed controls" or
BP's RFP to                     including testing policies, practices,                                                       overspeed w/10 (control* or    "engine," which are the subjects of the request.
TO                              procedures, standards, requirements,                                                         engine*)
                                protocols, and/or planning, regarding the
                                Deepwater Horizon’s overspeed controls.
Response to 3/11/2011    40     All documents relating to whether the actual Same as RFP 37.                                  (horizon or dwh) and          Transocean's search terms do not reference "overspeed controls" or
BP's RFP to                     maintenance, inspection, and testing of the                                                  overspeed w/10 (control* or    "engine," which are the subjects of the request.
TO                              Deepwater Horizon’s overspeed controls                                                       engine*)
                                complied with Transocean’s policies,
                                practices,procedures, standards,
                                requirements, and/or protocols regarding
                                maintenance, inspection, and testing of
                                overspeed controls.
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Response to 3/11/2011    45     All documents relating to any maintenance,    ((horizon or dwh) and (((fire or gas) w/10      (horizon or dwh) and             Transocean's search terms do not reference "firefighting
BP's RFP to                     including maintenance policies, practices,    detect*) w/10 (system* or alarm*))) or          (“firefighting” or (fire* w/10   equipment," which is the subject of the request.
TO                              procedures, standards, requirements,          ((horizon or dwh) and ((emergency w/3           equipment))
                                protocols, and/or planning, regarding the     disconnect) or eds) or ((emergency w/3
                                Deepwater Horizon’s firefighting equipment.   shutdown) or esd)) and date 1/1/2009 –
                                                                              4/20/2010.
Response to 3/11/2011    46     All documents relating to any inspections,    Same as RFP 45.                                 (horizon or dwh) and             Transocean's search terms do not reference "firefighting
BP's RFP to                     including inspection policies, practices,                                                     (“firefighting” or (fire* w/10   equipment," which is the subject of the request.
TO                              procedures, standards, requirements,                                                          equipment))
                                protocols, and/or planning, regarding the
                                Deepwater Horizon’s firefighting equipment.

Response to 3/11/2011    47     All documents relating to any testing,       Same as RFP 45.                                  (horizon or dwh) and             Transocean's search terms do not reference "firefighting
BP's RFP to                     including testing policies,                                                                   (“firefighting” or (fire* w/10   equipment," which is the subject of the request.
TO                              practices,procedures, standards,                                                              equipment))
                                requirements, protocols, and/or planning,
                                regarding the Deepwater Horizon’s
                                firefighting equipment.
Response to 3/11/2011    48     All documents relating to whether the actual Same as RFP 45.                                  (horizon or dwh) and             Transocean's search terms do not reference "firefighting
BP's RFP to                     maintenance, inspection, and testing of the                                                   (“firefighting” or (fire* w/10   equipment," which is the subject of the request.
TO                              Deepwater Horizon’s firefighting equipment                                                    equipment))
                                complied with Transocean’s policies,
                                practices, procedures, standards,
                                requirements, and/or protocols regarding
                                maintenance, inspection, and testing of
                                firefighting equipment.

Response to 3/11/2011    49     All documents relating to any maintenance,    Same as RFP 45.                                 (horizon or dwh) and             Transocean's search terms do not reference "generators" or
BP's RFP to                     including maintenance policies, practices,                                                    (maintain! or maintenance or     "engines," which are the subjects of the request.
TO                              procedures, standards, requirements,                                                          inspect!) w/ 10 (generator*
                                protocols, and/or planning, regarding the                                                     engine)
                                Deepwater Horizon’s generators.

Response to 3/11/2011    50     All documents relating to any inspections,     Same as RPF 45.                                (horizon or dwh) and             Transocean's search terms do not reference "generators" or
BP's RFP to                     including inspection policies, practices,                                                     (maintain! or maintenance or     "engines," which are the subjects of the request.
TO                              procedures, standards, requirements,                                                          inspect!) w/ 10 (generator*
                                protocols, and/or planning, regarding the                                                     engine)
                                Deepwater Horizon’s generators.
Response to 3/11/2011    51     All documents relating to whether the actual Same as RPF 45.                                  (horizon or dwh) and             Transocean's search terms do not reference "generators" or
BP's RFP to                     maintenance and inspection of the                                                             (maintain! or maintenance or     "engines," which are the subjects of the request.
TO                              Deepwater Horizon’s generators complied                                                       inspect!) w/ 10 (generator*
                                with Transocean’s policies, practices,                                                        engine)
                                procedures, standards, requirements, and/or
                                protocols regarding maintenance and
                                inspection of generators.
Response to 3/11/2011    58     All documents relating to the Deepwater        ((horizon or dwh) and (((fire or gas) w/10     (horizon or dwh) and (“Rig      Transocean's search terms do not reference the "Rig Management
BP's RFP to                     Horizon’s systems for scheduling,              detect*) w/10 (system* or alarm*))) or         Management” or RMS or work System" or "work orders," which are the subjects of the request.
TO                              conducting, and monitoring maintenance         ((horizon or dwh) and ((emergency w/3          w/3 order) w/25 (error* or
                                (including but not limited to Rig Management disconnect) or eds) or ((emergency w/3           wrong or incorrect or duplicat*
                                System II) generating duplicative work         shutdown) or esd)) and date 1/1/2009 –         or ((different or another or
                                orders, work orders meant for a different rig, 4/20/2010. cameron w/25 (("tl blowout          other) w/2 rig))
                                work orders for maintenance that had           preventor" or "tl blow out preventor" or "tl
                                already been performed, or work orders that bop") and (inspect* or purchas* or buy or
                                were otherwise erroneous or irrelevant.        mainten* or modifi* or repair*)) and after
                                                                               12/31/2003. (DWH or Horizon) w/25
                                                                               ("blowout preventor" or "blowout preventer"
                                                                               or "blow out preventor" or "blow out
                                                                               preventer" or bop)
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Response to 3/11/2011    70     All documents relating to any leaks from any ("DWH" OR "Horizon") AND (pod* w/5 leak) ("DWH" OR "Horizon") AND           Run search without date restriction, or in alternative run search from
BP's RFP to                     part or component of the Deepwater           AND Between 01-Feb-2010 to present            (pod* w/5 leak) AND Between 4/20/2005 forward.
TO                              Horizon’s BOP.                               (“DWH” OR “Horizon”) AND ((((“BOP” or         01-Jan-2009 to present
                                                                             “blowout preventer”) w/5 pod*) w/5 leak*) OR (“DWH” OR “Horizon”) AND
                                                                             ((“BOP” or “blowout preventer”) w/5 batter*)) ((((“BOP” or “blowout
                                                                             AND Between 01-Sep-2009 to 20-Apr2010 preventer”) w/5 pod*) w/5
                                                                                                                           leak*) OR ((“BOP” or “blowout
                                                                                                                           preventer”) w/5 batter*))

Response to 3/11/2011    71     All documents relating to Transocean’s         Same as RFP 70.                                 ("DWH" OR "Horizon") AND      Run search without date restriction, or in alternative run search from
BP's RFP to                     policies, practices, procedures, standards,                                                    (pod* w/5 leak) AND Between 4/20/2005 forward.
TO                              requirements, and/or protocols for                                                             01-Jan-2009 to present
                                addressing leaks from any part or                                                              (“DWH” OR “Horizon”) AND
                                component of a BOP.                                                                            ((((“BOP” or “blowout
                                                                                                                               preventer”) w/5 pod*) w/5
                                                                                                                               leak*) OR ((“BOP” or “blowout
                                                                                                                               preventer”) w/5 batter*))

Response to 3/11/2011    76     All documents relating to American       (disassemb* W/5 (guid* OR recommend*))                “API RP 53” or “American        Transocean's search terms do not reference American Petroleum
BP's RFP to                     Petroleum Institute Recommended Practice W/25 ("BOP" or "blowout preventer") AND               Petroleum Institute” w/10       Institute Recommended Practice 53 or "API RP 53," which is the
TO                              53 (“API RP 53”).                        Between 01-Jan-2001 to April 20, 2010                 (“blowout preventer” or bop) or subject of the request.
                                                                                                                               “Recommended Practice 53”
                                                                                                                               or “RP 53”
Response to 3/11/2011    77     All documents relating to Transocean’s       Same as RFP 76.                                   “API RP 53” or “American        Transocean's search terms do not reference American Petroleum
BP's RFP to                     policies, practices, procedures, standards,                                                    Petroleum Institute” w/10       Institute Recommended Practice 53 or "API RP 53," which isthe
TO                              requirements, and/or protocols for complying                                                   (“blowout preventer” or bop) or subject of the request.
                                with API RP 53.                                                                                “Recommended Practice 53”
                                                                                                                               or “RP 53”
Response to 3/11/2011    90     All documents relating to the Deepwater      ((horizon or dwh) and (((fire or gas) w/10          (horizon or dwh) and          Transocean's search terms do not reference "overspeed controls" or
BP's RFP to                     Horizon’s overspeed controls.                detect*) w/10 (system* or alarm*))) or            overspeed w/10 (control* or     "engines," which are the subjects of the request.
TO                                                                           ((horizon or dwh) and ((emergency w/3             engine*)
                                                                             disconnect) or eds) or ((emergency w/3
                                                                             shutdown) or esd)) and date 1/1/2009 –
                                                                             4/20/2010. (procedur* or protocol* or rule* or
                                                                             guideline* or polic*) and ((well w/3 control) or
                                                                             “pressure test” or (( NPT or PPT) w/3 test))
                                                                             and (dwh or horizon) and date 1/1/2005 –
                                                                             4/20/2010.
Response to 3/11/2011    91     All documents relating to any loss of power (horizon or dwh) and blackout and greater         (“loss” or “fail*”) w/3 (“power”    Transocean's search terms do not include references to loss of
BP's RFP to                     by the Deepwater Horizon, including but not than or equal to Aug 1, 2008                      or “electric!”)                     "power" or "electricity," which are the subjects of the request.
TO                              limited to the blackout that occurred on the
                                Deepwater Horizon in August 2008.

Response to 3/11/2011    92     All documents relating to the failure of the Same as RFP 91.                                   (“loss” or “fail*”) w/3 (“power”   Transocean's search terms do not include references to loss of
BP's RFP to                     Deepwater Horizon’s overspeed controls for                                                     or “electric!”)                    "power" or "electricity," which are the subjects of the request.
TO                              engine no. 3 causing a blackout on the
                                Deepwater Horizon in August 2008.
Response to 3/11/2011    93     All documents relating to any maintenance, Same as RFP 91.                                     (“loss” or “fail*”) w/3 (“power”   Transocean's search terms do not include references to loss of
BP's RFP to                     repairs, replacement, inspection, and/or                                                       or “electric!”)                    "power" or "electricity," which are the subjects of the request.
TO                              testing of the Deepwater Horizon’s
                                overspeed controls as a result of the August
                                2008 blackout on the Deepwater Horizon

Response to 3/11/2011    94     All documents relating to the Deepwater        Same as RFP 33.                                 (horizon or dwh) and “rig          Transocean's search terms do not reference "rig savers," which is
BP's RFP to                     Horizon’s rig savers.                                                                          saver*”                            the subject of the request.
TO
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Response to 3/11/2011    96     All documents relating to any of the          (dwh or Horizon) AND equipment AND              (dwh or Horizon) AND             Transocean's search terms are overly narrowed to documents
BP's RFP to                     Deepwater Horizon’s equipment intended to engine AND ((prevent w/5 "gas flow") or             equipment AND engine AND         including "prevent" within 5 words of "gas flow," or "detect*" within
TO                              prevent gas flow to the engine control room (detect* w/10 combustible))                       ("gas flow" or combustible)      10 words of "combustible."
                                or shut down the rig’s engines if combustible
                                gas is detected.                                                                              [i.e. run without “prevent w/5”
                                                                                                                              and “detect w/10”]
Response to 3/11/2011    99     All documents relating to the Deepwater       ((horizon or dwh) and (((fire or gas) w/10      (horizon or dwh) w/50 diverter Transocean's search terms are overly narrowed to documents
BP's RFP to                     Horizon’s diverter system.                    detect*) w/10 (system* or alarm*))) or                                          relating to the emergency disconnect system, the mud-gas
TO                                                                            ((horizon or dwh) and ((emergency w/3                                           separator, and the "autoshear" system.
                                                                              disconnect) or eds) or ((emergency w/3
                                                                              shutdown) or esd)) and date 1/1/2009 –
                                                                              4/20/2010. ((EDS OR "emergency
                                                                              disconnect") w/25 ("mud gas separator" or
                                                                              mgs OR diverter)) and (affect* or effect* or
                                                                              hinder or prevent or interf*) ((amf or
                                                                              deadman) w/25 ("mud gas separator" or mgs
                                                                              OR diverter)) and (affect* or effect* or hinder
                                                                              or prevent or inter*) (("auto-shear" or
                                                                              autoshear) w/25 ("mud gas separator" or
                                                                              mgs OR diverter)) and (affect* or effect* or
                                                                              hinder or prevent or interf*) diverter AND
                                                                              polic* AND deepwater
Response to 3/11/2011    100    Documents sufficient to show all types of     [Asking for types of data seen from the         Likely no search terms           Transocean's August 3 correspondence indicated it would search for
BP's RFP to                     data shown on the Deepwater Horizon’s         drillers chair which are not likely to be in a  needed. If search terms used, responsive documents for this request.
TO                              computer system, controls, and displays for document. A reasonable search cannot be then run: (dwh or horizon) and
                                the driller’s and assistant driller’s control constructed to establish these types of data]. (cyber or driller*) w/5 (chair or
                                chairs.                                                                                       display or control*) w/25 (data
                                                                                                                              or reading or pressure or flow
                                                                                                                              or mud or volume)

Response to 3/11/2011    101    All documents relating to the Deepwater            Same as RFP 100.                              (cyber or driller*) w/5 (chair or Transocean's August 3 correspondence indicated it would search for
BP's RFP to                     Horizon’s computer system, controls, and                                                         display or control*) w/25         responsive documents for this request.
TO                              displays for the driller’s and assistant driller’s                                               (problem or defect* or delay*
                                control chairs failing to show data, showing                                                     or erro* or repair* or maint* or
                                data on a delayed basis, or showing                                                              replac*)
                                erroneous data.
Response to 3/11/2011    106    All documents relating to the MC252 well           “well control event” and (“blow-out” or leak* (horizon or dwh or Macondo or Transocean's search terms are overly narrowed to documents
BP's RFP to                     control incident on April 20, 2010.                or injur* or damage* or accident* or problem "MC 252" or MC252) and             containing the phrase "well control event" in conjunction with other
TO                                                                                 or disaster). Limit date.                     (incident or blowout or           terms.
                                                                                                                                 explosion or fire or accident or
                                                                                                                                 disaster or investigat* or “well
                                                                                                                                 control event”) and greater
                                                                                                                                 than or equal to April 20, 2010

Response to 3/11/2011    116    All documents relating to the actions the      “well control event” and (“blow-out” or leak* (horizon or dwh or Macondo or Transocean's search terms are overly narrowed to documents
BP's RFP to                     Transocean crew took in response to the        or injur* or damage* or accident* or problem "MC 252" or MC252) and            containing the phrase "well control event" in conjunction with other
TO                              MC252 well control incident on April 20,       or disaster).                                 (incident or blowout or          terms.
                                2010.                                                                                        explosion or fire or accident or
                                                                                                                             disaster or investigat* or “well
                                                                                                                             control event”) and greater
                                                                                                                             than or equal to April 20, 2011

Response to 3/11/2011    119    All documents relating to Transocean’s         ((horizon or dwh) and (((fire or gas) w/10     (Gas w/10 riser) and (Train* or Transocean's search terms are overly narrowed to documents
BP's RFP to                     policies, practices, procedures, standards,    detect*) w/10 (system* or alarm*))) or         polic* or practice* or procedur* concerning alarms, the emergency disconnect system, and the
TO                              requirements, and/or protocols regarding       ((horizon or dwh) and ((emergency w/3          or standard* or requirement* emergency shutdown system.
                                how the crew of a deepwater drilling rig       disconnect) or eds) or ((emergency w/3         or protocol* or handbook or
                                should respond when gas enters into the        shutdown) or esd)) and date 1/1/2009 –         manual)
                                riser of a deepwater drilling rig.             4/20/2010.
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Response to 3/11/2011    143    All documents relating to bladder effects or   No search terms needed.                      Per Transocean's July 27        Transocean's July 27 correspondence indicated it had run searches.
BP's RFP to                     annular compression when performing or                                                      letter, run searches for
TO                              interpreting negative pressure tests.                                                       documents containing
                                                                                                                            "annular compression" or
                                                                                                                            "bladder effect" or "bladder
                                                                                                                            affect" or "annul* compres*"
Response to 3/11/2011    150    All documents relating to the Deepwater         ((horizon or dwh) and (((fire or gas) w/10  (dwh or horizon) w/50              Transocean's search terms do not include references to "engines" or
BP RFP                          Horizon’s engines and generators, including     detect*) w/10 (system* or alarm*))) or      (generator* or engine*) and        "generators," which are the subjects of the request.
                                but not limited to the operation of those       ((horizon or dwh) and ((emergency w/3       greater or equal to April 1,
                                engines and generators on April 20, 2010.       disconnect) or eds) or ((emergency w/3      2010
                                                                                shutdown) or esd))
Response to 3/11/2011    156    All documents relating to efforts by any        well control event and (blow-out or leak* or (dwh or horizon) and (bop or Transocean's search terms do not include "blowout preventer" or
BP RFP                          person or entity to activate the BOP after the injur* or damage* or accident* or problem or “blowout preventer”) w/25          derivations therof, which is the subject of the request.
                                Deepwater Horizon Incident.                     disaster)                                      (disaster or incident or
                                                                                                                               problem or accident or
                                                                                                                               response or “ROV
                                                                                                                               intervention” or “containment”
                                                                                                                               or “source control”) and
                                                                                                                               greater or equal to April 19,
                                                                                                                               2010
Response to 3/11/2011    158    All documents relating to efforts to contain or (macondo or "mc 252" or mc252 or horizon (dwh or horizon or macondo or Transocean's search terms do not include "contain" or "clean" or "oil
BP RFP                          clean up the Oil Spill                          or dwh or cap* or control or "shut in" or "top "MC 252" or mc252) and (oil spill," which are the subjects of the request.
                                                                                kill") and well control event and (blow-out or or hydrocarbons) w/25 (spill or
                                                                                leak* or injur* or damage* or accident* or     contain* or clean* or
                                                                                problem or disaster)                           dispersant) and greater or
                                                                                                                               equal to April 19, 2010
Response to 4/29/2011     5     All documents relating to rig schematics,       ((horizon or dwh) and (((fire or gas) w/10     (dwh or horizon) w/25 (schem* Transocean's search terms are overly narrowed to documents
BP's 2nd                        diagrams, drawings, or blueprints for the       detect*) w/10 (system* or alarm*))) or         or diagram* or drawing* or      concerning alarms, the emergency disconnect system, and the
RFP to TO                       Deepwater Horizon both as manufactured          ((horizon or dwh) and ((emergency w/3          blueprint* or specification*)   emergency shutdown system or documents containing "well control
                                and as it existed at the time of the Incident, disconnect) or eds) or ((emergency w/3                                          event."
                                including but not limited to all documents      shutdown) or esd)) and date 1/1/2009 –
                                describing or setting forth the layout of the   4/20/2010. “well control event” and (“blow-
                                Deepwater Horizon and all photographs or out” or leak* or injur* or damage* or
                                other images of the Deepwater Horizon.          accident* or problem or disaster).
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Response to 4/29/2011     6     All documents relating to the Deepwater       (DWH or horizon or marianas or macondo or "MC 252" or MC252 or              Transocean's search terms are overly narrow; a simple broad search
BP's 2nd                        Horizon’s drilling of the MC252 Well,         mc252 or "mc 252" or block252 or "block        Macondo                      related to the Macondo Well is appropriate.
RFP to TO                       including but not limited to all data, daily  252") and (annulus or cement or centraliz* or
                                reports, and other documents generated        “negative pressure” or “pressure test” or
                                during the course of drilling the MC252 Well, (shoe w/2 track) or (mud w/5 separator) or
                                as well as all documents sent to or received (blowout w/3 preventor) or “BOP” or “EDS”)
                                from BP’s other contractors such as           and (BP or Cameron or Halliburton or HESI
                                Halliburton Energy Services, Inc. and M-I     or Weatherford or Anadarko or "Tidewater
                                LLC concerning drilling of the MC252 Well. Marine" or TM or Sperry or Swaco or MOEX
                                                                              or MMS or (mineral* w/3 management) or
                                                                              (coast w/2 guard) or USCG or Schlumberger
                                                                              or Kongsberg or Simrad) & da(after
                                                                              9/30/2009). (horizon or dwh or macondo or
                                                                              mc252 or “mc 252” or block252 or “block
                                                                              252”) and ((annulus w/5 cement) or (casing
                                                                              w/3 string) or centralis* or “float collar” or
                                                                              (negative w/5 test*) or (integrity w/5
                                                                              parameters) or (mud w/3 gas w/3 separator)
                                                                              or (core w/3 pressure) or (mud w/3 program)
                                                                              or (pressure w/3 test) or (cement w/3bond)
                                                                              or cbl or (negative w/3 test*) or (bottom* w/5
                                                                              circulat*)) and date between 1/31/2010 and
                                                                              4/21/2010; (horizon or dwh or macondo or
                                                                              mc252 or “mc 252” or block252 or “block
                                                                              252”) and (temporary w/3 abandonment) and
                                                                              date between 4/15/2010 and 4/21/2010;


Response to 4/29/2011    18     All documents from January 1, 2009, to April ((horizon or dwh) and (((fire or gas) w/10    (dwh or horizon) and (safety or Transocean's search terms are overly narrow in that they concern
BP's 2nd                        20, 2010 relating to safety and/or emergency detect*) w/10 (system* or alarm*))) or        emergency) w/25 (drill or plan emergency equipment and may not encompass responsive
RFP to TO                       drills conducted on the Deepwater Horizon. ((horizon or dwh) and ((emergency w/3           or practice* or procedur* or     documents concerning safety or emergency drills.
                                                                             disconnect) or eds) or ((emergency w/3        protocol* or polic* or standard*
                                                                             shutdown) or esd)) and date 1/1/2009 –        or handbook or manual or
                                                                             4/20/2010. (dwh or horizon) and date Jan 1,   guide*) and date 1/1/2009 –
                                                                             2010 – April 21, 2010.                        4/20/2010

Response to 4/29/2011    23     All documents relating to any flooding on the (horizon or dwh) and blackout and greater    (DWH or Horizon) w/10 flood* Transocean's search terms do not include reference to "flooding,"
BP's 2nd                        Deepwater Horizon, including but not limited than or equal to Aug 1, 2008 [Same as                                      which is the subject of the request
RFP to TO                       to the flooding event that occurred on the     Response to BP's 1st RFP 91]
                                Deepwater Horizon in 2008.
Response to 4/29/2011    29     All documents created at any time relating to No Search Terms Needed.                      Per Transocean's July 27       Transocean's July 27 correspondence indicated it had run searches.
BP's 2nd                        communications or discussions, evaluations,                                                letter, run searches for
RFP to TO                       or analyses of a so-called “bladder effect” or                                             documents containing
                                “annular compression,” including but not                                                   "annular compression" or
                                limited to all documents in which either one                                               "bladder effect" or "bladder
                                of those terms appears.                                                                    affect" or "annul* compres*"
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Response to 4/29/2011    46     All documents relating to the Deepwater         ((horizon or dwh) and (((fire or gas) w/10       (horizon or dwh) w/50 diverter Transocean's search terms are overly narrow in that they
BP's 2nd                        Horizon’s diverter system.                      detect*) w/10 (system* or alarm*))) or                                           unneccessarily limit search results to documents containing various
RFP to TO                                                                       ((horizon or dwh) and ((emergency w/3                                            specified terms used in conjunction with "diverter" instead of a broad
                                                                                disconnect) or eds) or ((emergency w/3                                           search for documents using "diverter."
                                                                                shutdown) or esd)) and date 1/1/2009 –
                                                                                4/20/2010. ((EDS OR "emergency
                                                                                disconnect") w/25 ("mud gas separator" or
                                                                                mgs OR diverter)) and (affect* or effect* or
                                                                                hinder or prevent or interf*) ((amf or
                                                                                deadman) w/25 ("mud gas separator" or mgs
                                                                                OR diverter)) and (affect* or effect* or hinder
                                                                                or prevent or inter*) (("auto-shear" or
                                                                                autoshear) w/25 ("mud gas separator" or
                                                                                mgs OR diverter)) and (affect* or effect* or
                                                                                hinder or prevent or interf*) diverter AND
                                                                                polic* AND deepwater
Response to 4/29/2011    48     All documents relating to the Deepwater         ((horizon or dwh) and (((fire or gas) w/10       (horizon or dwh) and “rig       Transocean's search terms do not include reference to "rig savers,"
BP's 2nd                        Horizon’s rig savers.                           detect*) w/10 (system* or alarm*))) or           saver*”                         which is the subject of the request.
RFP to TO                                                                       ((horizon or dwh) and ((emergency w/3
                                                                                disconnect) or eds) or ((emergency w/3
                                                                                shutdown) or esd)) and date 1/1/2009 –
                                                                                4/20/2010. (procedur* or protocol* or rule* or
                                                                                guideline* or polic*) and ((well w/3 control) or
                                                                                “pressure test” or (( NPT or PPT) w/3 test))
                                                                                and (dwh or horizon) and date 1/1/2005 –
                                                                                4/20/2010.
Response to 4/29/2011    49     All documents relating to the Deepwater         ((horizon or dwh) and (((fire or gas) w/10         (horizon or dwh) and          Transocean's search terms do not reference "overspeed controls" or
BP's 2nd                        Horizon’s overspeed controls.                   detect*) w/10 (system* or alarm*))) or           overspeed w/10 (control* or     "engine," which are the subjects of the request.
RFP to TO                                                                       ((horizon or dwh) and ((emergency w/3            engine*)
                                                                                disconnect) or eds) or ((emergency w/3
                                                                                shutdown) or esd)) and date 1/1/2009 –
                                                                                4/20/2010. (procedur* or protocol* or rule* or
                                                                                guideline* or polic*) and ((well w/3 control) or
                                                                                “pressure test” or (( NPT or PPT) w/3 test))
                                                                                and (dwh or horizon) and date 1/1/2005 –
                                                                                4/20/2010.
Response to 4/29/2011    73     All documents relating to all Operational       ((horizon or dwh) and (((fire or gas) w/10       (dwh or horizon) and            Transocean's search terms do not respond to the subject of the
  BP's 2nd                      Events Reports for the Deepwater Horizon,       detect*) w/10 (system* or alarm*))) or           (“operation* event* report*” or request, as they relate to emergency equipment but do not search
 RFP to TO                      as described in the Transocean Field            ((horizon or dwh) and ((emergency w/3            “event report*”)                for "Operation Events Reports."
                                Operations Handbook, Manual No. HQS-            disconnect) or eds) or ((emergency w/3
                                OPS- HB-05, including but not limited to: (i)   shutdown) or esd)) and date 1/1/2009 –
                                Equipment Failures reports; (ii) Major          4/20/2010.
                                Equipment Failures reports; (iii) Procedural
                                Error or Failures reports; (iv) Other Events
                                Transocean reports; (v) Hole Problems
                                reports; (vi) Other Events Customer reports;
                                and (vii) Well Control Event reports.

Response to 4/29/2011    74     All documents relating to the following         ((horizon or dwh) and (((fire or gas) w/10     (dwh or horizon) and            Transocean's search terms do not respond to the subject of the
BP's 2nd                        reports or notifications for the Deepwater      detect*) w/10 (system* or alarm*))) or         ((emergency or HSE or           request, as they relate to emergency equipment but do not search
RFP to TO                       Horizon, as described in the Transocean         ((horizon or dwh) and ((emergency w/3          abnorm*) w/5 report*)           for "emergency response reports" or "HSE incident reports" or
                                Field Operations Handbook, Manual No.           disconnect) or eds) or ((emergency w/3                                         "operational abnormality reports."
                                HQS-OPS- HB-05: (i) emergency response          shutdown) or esd)) and date 1/1/2009 –
                                reports; (ii) HSE incident reports; and (iii)   4/20/2010.
                                operational abnormality reports.
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Response to 4/29/2011    75     All documents relating to Operation Event      “well control event” and (“blow-out” or leak* (dwh or horizon) and           Transocean's search terms are overly narrow in that they are limited
BP's 2nd                        Reports - Format for Well Control Event,       or injur* or damage* or accident* or problem (“operation* event* report*” or to documents containing the phrase "well control event" in
RFP to TO                       including but not limited to those in the      or disaster).                                 “event report*”) and “well     conjunction with other specified terms.
                                format of Deposition Exhibit 1479,                                                           control”
                                concerning the Deepwater Horizon.
Response to 4/29/2011    84     All documents relating to simultaneous         ((horizon or dwh) and (((fire or gas) w/10   (dwh or horizon) and          Transocean's search terms relate to emergency equipment but fail
BP's 2nd                        operations while doing dynamic positioning     detect*) w/10 (system* or alarm*))) or       (“simultaneous operations” or to reference "simultaneous operations," "SIMOPS," or "dynamic
RFP to TO                       of vessel or “SIMOPS” on the Deepwater         ((horizon or dwh) and ((emergency w/3        SIMOPS) and (“dynamic         positioning."
                                Horizon.                                       disconnect) or eds) or ((emergency w/3       position*” or “dp”)
                                                                               shutdown) or esd)) and date 1/1/2009 –
                                                                               4/20/2010.
Response to 4/29/2011    96     All documents relating to ballast and pipeline ((horizon or dwh) and (((fire or gas) w/10   (dwh or horizon) and (pipeline Transocean's search terms relate to emergency equipment but fail
BP's 2nd                        drawings for the Deepwater Horizon.            detect*) w/10 (system* or alarm*))) or       or ballast) w/25 (draw* or      to reference the terms "ballast" or "pipeline," which are the subjects
RFP to TO                                                                      ((horizon or dwh) and ((emergency w/3        diagram* or blueprint* or plan* of the request.
                                                                               disconnect) or eds) or ((emergency w/3       or schem*)
                                                                               shutdown) or esd)) and date 1/1/2009 –
                                                                               4/20/2010.
Response to 4/29/2011    97     All documents relating to drawings for the     Same as BP 2nd RFP 96.                       (dwh or horizon) and tank w/5 Transocean's search terms relate to emergency equipment but fail
BP's 2nd                        Deepwater Horizon’s ballast tank, fuel tanks,                                               (ballast or fuel or water) w/25 to reference the ballast tank, fuel tanks, drill water tanks, or fresh
RFP to TO                       drill water tanks, and fresh water tanks.                                                   (draw* or diagram* or           water tanks, which are the subjects of the request.
                                                                                                                            blueprint* or plan* or schem*)

Response to 4/29/2011    105    All documents relating to the capacity,        ((horizon or dwh) and (((fire or gas) w/10    (dwh or horizon) and (degass* Transocean's search terms relate to emergency equipment but fail
BP's 2nd                        capabilities and/or description of the         detect*) w/10 (system* or alarm*))) or        or mgs or (mud w/3 gas w/3     to mention the term "degasser" or the mud-gas separator.
RFP to TO                       degasser unit.                                 ((horizon or dwh) and ((emergency w/3         separator))
                                                                               disconnect) or eds) or ((emergency w/3
                                                                               shutdown) or esd)) and date 1/1/2009 –
                                                                               4/20/2010.
Response to 4/29/2011    110    All documents relating to all services         (DWH or horizon or marianas or macondo or (Macondo or MC252 or “MC Transocean's search terms unnecessarily limit the scope of
BP's 2nd                        performed by Halliburton Energy Services       mc252 or "mc 252" or block252 or "block       252”) and (Halliburton or HESI documents gathered by requring that they concern topics such as
RFP to TO                       Inc. (“Halliburton”) and Sperry Drilling       252") and (annulus or cement or centraliz* or or Sperry* or cement* or       the negative pressure test, mud gas separator, or the blowout
                                Services relating to the MC252 Well,           “negative pressure” or “pressure test” or     (mudlog* or (mud w/3 log*))    preventer. A simpler, broader search is appropriate.
                                including but not limited to cementing and     (shoe w/2 track) or (mud w/5 separator) or
                                mud logging services.                          (blowout w/3 preventor) or “BOP” or “EDS”)
                                                                               and (BP or Cameron or Halliburton or HESI
                                                                               or Weatherford or Anadarko or "Tidewater
                                                                               Marine" or TM or Sperry or Swaco or MOEX
                                                                               or MMS or (mineral* w/3 management) or
                                                                               (coast w/2 guard) or USCG or Schlumberger
                                                                               or Kongsberg or Simrad) & da(after
                                                                               9/30/2009).

Response to 4/29/2011    113    All documents relating to the cementing unit ((horizon or dwh) and (((fire or gas) w/10     (dwh or horizon) and            Transocean's search terms relate to emergency equipment but fail
  BP's 2nd                      on the Deepwater Horizon on April 19-20,       detect*) w/10 (system* or alarm*))) or       ((cement* w/2 unit) or          to address "cementing," which is the subject of the request.
 RFP to TO                      2010, including but not limited to schematics, ((horizon or dwh) and ((emergency w/3        (nitrogen w/2 unit) or “foam
                                diagrams, plumbing and drawings of the         disconnect) or eds) or ((emergency w/3       manifold”)
                                cementing unit, the nitrogen unit and the      shutdown) or esd)) and date 1/1/2009 –
                                foam manifold.                                 4/20/2010.
Response to 4/29/2011    119    All documents relating to when a cement        Same as BP 2nd RFP 118                       (Polic* or practice* or         This request is not limited to documents concerning the Macondo
BP's 2nd                        bond/evaluation log should be run on a well.                                                procedur* or manual* or         well and thus Transocean's search terms should not be limited to
RFP to TO                                                                                                                   guide* or handbook) w/25        that well.
                                                                                                                            (cement w/3 log) or cbl or
                                                                                                                            “cement evaluation log”)
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Response to 4/29/2011    183    All documents relating to or referring to the   (horizon or dwh or macondo or mc252 or           (Macondo or MC252 or “MC Transocean's search terms do not include "lock down sleeve" or
BP's 2nd                        lock down sleeve and lock down sleeve           “mc 252” or block252 or “block 252”) and         252”) and (“lock down ” or lds) derivations thereof, which is the subject of the request.
RFP to TO                       procedure for use at the MC252 Well.            ((annulus w/5 cement) or (casing w/3 string)
                                                                                or centralis* or “float collar” or (negative w/5
                                                                                test*) or (integrity w/5 parameters) or (mud
                                                                                w/3 gas w/3 separator) or (core w/3
                                                                                pressure) or (mud w/3 program) or (pressure
                                                                                w/3 test) or (cement w/3bond) or cbl or
                                                                                (negative w/3 test*) or (bottom* w/5
                                                                                circulat*)) and date between 1/31/2010 and
                                                                                4/21/2010; (horizon or dwh or macondo or
                                                                                mc252 or “mc 252” or block252 or “block
                                                                                252”) and (temporary w/3 abandonment) and
                                                                                date between 4/15/2010 and 4/21/2010;
                                                                                (horizon or dwh or macondo or mc252 or
                                                                                “mc 252” or block252 or “block 252”) and
                                                                                (fifteen or 15) and 4/18/2010 “well control
                                                                                event” and (“blow-out” or leak* or injur* or
                                                                                damage* or accident* or problem or
                                                                                disaster).

Response to 4/29/2011    205    All documents sent to or received from any (dwh or horizon) and date Jan 1, 2010 –          (dwh or horizon or bankston) This request may not require search terms, as presumably
BP's 2nd                        crew member of the Deepwater Horizon or April 21, 2010. “well control event” and            and (crew or “on board”) and Transocean has a file of such communications. Nevertheless, to the
RFP to TO                       Damon B. Bankston on or after April 20,      (“blow-out” or leak* or injur* or damage* or   ((incident or injur* or damage* extent Transocean uses search terms, the BP Parties request that
                                2010, including but not limited to all       accident* or problem or disaster).             or disaster or explosion or fire) Transocean perform the proposed search.
                                communications relating to the settlement or                                                w/25 (settl* or compromis* or
                                compromise, or potential settlement or                                                      claim*) and greater than or
                                compromise, of any claims that have been or                                                 equal to April 20, 2010
                                might be brought by such crew members.

Response to 4/29/2011    206    All documents sent to or received from any “well control event” and (“blow-out” or leak* (Macondo or MC252 or “MC As with respect to Request 205 of the Second Request, this request
BP's 2nd                        person or entity relating to the settlement or or injur* or damage* or accident* or problem 252” or dwh or horizon or “oil may not require search terms, as presumably Transcoean has a file
RFP to TO                       compromise, or potential settlement or         or disaster).                                spill”) and ((incident or injur* or of such communications. To the extent Transocean uses search
                                compromise, of any claims arising from or                                                   damage* or disaster or              terms, the BP Parties request that Transocean peform a search with
                                relating to the Deepwater Horizon Incident or                                               explosion or fire) w/25 (settl* these proposed terms.
                                the Oil Spill.                                                                              or compromis* or claim*) and
                                                                                                                            greater than or equal to April
                                                                                                                            20, 2010
